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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

    SAINT ALPHONSUS HEALTH
    ALLIANCE, INC. f/k/a ADVANTAGE
    CARE NETWORK, INC., an Idaho                     Case No. 1:18-cv-00183-DCN
    corporation, and SAINT ALPHONSUS
    HEALTH SYSTEM, INC., an Idaho                    LITIGATION ORDER AND NOTICE
    corporation,                                     OF TELEPHONIC SCHEDULING
                                                     CONFERENCE
                       Plaintiffs,

    v.

    CORIZON, LLC, f/k/a CORRECTIONAL
    MEDICAL SYSTEMS, INC., a Missouri
    limited liability company, and CORIZON
    HEALTH, INC., a Delaware corporation,

                       Defendants.


         THEREFORE IT IS HEREBY ORDERED AS FOLLOWS:

1.       Plaintiffs must serve this Order on all parties who have not entered an appearance

via PACER to date. Within thirty days of the filing of the Complaint, the Plaintiffs must

file with the Court a status report regarding service of the summons and complaint pursuant

to Dist. Idaho L. Rule 4.1.1 Alternatively, Plaintiffs may file proof of service in lieu of the

status report otherwise required.

2.       Pursuant to Dist. Idaho L. Rule 16.1, the parties must meet and determine:


1
 The Court’s local rules may be found at the following URL address:
http://id.uscourts.gov/clerks/rules_orders/Civil_Local_Rules.cfm

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       A.     A litigation plan and a discovery plan, including the issues related to

discovery of electronically stored information, if either party contemplates such discovery.

The Court’s litigation plan form and the discovery plan form may be found on the District

Court’s website, www.id.uscourts.gov, under Forms.2

       B.     If the case is suitable for the Court’s alternative dispute resolution (ADR)

program, which type of ADR process is best suited to the specific circumstances of the

case, and when the most appropriate time would be for the ADR session to be held. Dist.

Idaho L. Rule 16.4.

3.     Initial disclosures must be made by the parties pursuant to Federal Rule of Civil

Procedure 26.1 and Dist. Idaho L. Rule 16.1.

4.     If this matter is assigned to a magistrate judge, Counsel must review and be familiar

with Dist. Idaho L. Rule 73.1 regarding the consent process for proceeding before a

magistrate judge. Additional Information about the consent process may be found on the

Court’s website.3

5.     Unless the Plaintiffs contact my Judicial Assistant, Amy Beers, and request a

different date and time, the Court will conduct a telephonic scheduling conference on

September 20, 2018, at 11:30 a.m. mountain time, (Pocatello chambers) for purpose of

confirming the deadlines proposed by the parties in the joint Litigation Plan.



2
 The URL address to access the Court’s forms may be found here:
http://id.uscourts.gov/district/forms_fees_rules/Civil_Forms.cfm
3
 Information about the consent process may be found at the following URL address:
http://www.id.uscourts.gov/district/judges/Magistrate_Judge_Consent.cfm

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6.     Plaintiffs must initiate the conference call by placing it to (208) 478-8392 and must

have all appropriate parties on the line.

7.     On or before September 13, 2018, the parties must file with the Court the joint

Litigation Plan and Discovery Plan.


                                                 DATED: July 20, 2018


                                                 _________________________
                                                 David C. Nye
                                                 U.S. District Court Judge




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